OR161NAL Case 0:17-cr-60108-JIC Document 128-5 Entered on FLSD Docket 02/14/2018 Page 1 of 2
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    COMMANDING BFFICER USCGC MIDGETT                                                                   Z‖ 412            NO.           SHEETS             DATE
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              DETAINEE#2 PERSONAL EFFECTS,SEIZURE TAG#167270                                                                                 N/A

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              DETAINEE#3:PIVITON PASTOR POSLIGUA GILER,DOB                                                           1

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              DETAINEE#3 PERSONAL EFFECTS,SEIZURE TAG#167271                                                                                 N/A

      09 SPOT TRACE TRACKING DEVICE、 SEIZURE TAG 171766                                            EA                1    N/A          N/A
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                                    -AND NO OTHERS-.---




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